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 1
     TODD KIM
 2   Assistant Attorney General
     Environment and Natural Resources Division
 3   United States Department of Justice
 4   ARWYN CARROLL (MA Bar 675926)
     LEILANI DOKTOR (HI Bar 11201)
 5   MICHAEL ROBERTSON (VA Bar 80866)
     Natural Resources Section
 6   P.O. Box 7611
     Washington, D.C. 20044-7611
 7   Phone: (202) 305-0465
     Fax: (202) 305-0506
 8   arwyn.carroll@usdoj.gov
     leilani.doktor@usdoj.gov
 9   michael.robertson@usdoj.gov
10   Attorneys for Federal Defendants
11                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
12

13                                                         Case No. 3:21-cv-80-MMD-CLB
     BARTELL RANCH LLC, et al.,
                                                           Related Case No. 3:21-cv-103-MMD-
14                   Plaintiffs,                           CLB
                                                           (Consolidated)
15          v.
16   ESTER M. MCCULLOUGH, et al.,
17                   Defendants.
18
     WESTERN WATERSHEDS                                    FEDERAL DEFENDANTS’
19
     PROJECT, et al.,                                      REPLY IN SUPPORT OF THEIR
20                   Plaintiffs,                           MOTION FOR SUMMARY
                                                           JUDGMENT ON BARTELL
21          v.                                             PLAINTIFFS’ CLAIMS
22   UNITED STATES DEPARTMENT
23   OF THE INTERIOR, et al.,
                      Defendants.
24

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 7
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 8                             ........................................................................................................ 7
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11
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12                             work .............................................................................................. 13

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15
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16
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14     674 F. Supp. 2d 1232 (W.D. Wash. 2009).............................................................6
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19     844 F.3d 1095 (9th Cir. 2016) ...............................................................................2

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 4   Or. Nat. Desert Ass’n v. Bureau of Land Mgmt.,
 5     625 F.3d 1092 (9th Cir. 2010) ...............................................................................5

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       840 F.3d 562 (9th Cir. 2016) ............................................................................... 10
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 8     No. 2:10-CV-01331-SU, 2014 WL 4832218 (D. Or. Sept. 29, 2014) ........................ 20
 9   Robertson v. Methow Valley Citizens Council,
       490 U.S. 332 (1989) ........................................................................................ 2, 11
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     S. Fork Band v. U.S. Dep't of Interior,
11      643 F. Supp. 2d 1192 (D. Nev. 2009) ............................................................ 20, 21
12   San Luis & Delta-Mendota v. Jewell,
13     747 F.3d 581 (9th Cir. 2014) ............................................................................... 13

14   Sierra Club v. Van Antwerp,
       709 F. Supp. 2d 1254 (S.D. Fla. 2009) ................................................................ 16
15
     Te–Moak Tribe of W. Shoshone v. U.S. Dep’t of Interior,
16     608 F.3d 592 (9th Cir. 2010) .................................................................................2
17   Statutes
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 1
                                    TABLE OF ABBREVIATIONS
 2
              APA                      Administrative Procedure Act
 3
              ARMPA                    Approved Resource Management Plan
 4                                     Amendment
              BLM                      United States Bureau of Land Management
 5
              DEIS                     Draft Environmental Impact Statement
 6            EPA                      United States Environmental Protection
                                       Agency
 7            ESA                      Endangered Species Act
 8            FEIS                     Final Environmental Impact Statement
              FLPMA                    Federal Land Policy and Management Act of
 9                                     1976
10
              FWS                      United States Fish and Wildlife Service
              LCT                      Lahontan Cutthroat Trout
11            NDOW                     Nevada Department of Wildlife
              NEPA                     National Environmental Policy Act
12
              RMP                      Resource Management Plan
13            ROD                      Record of Decision
              VRM                      Visual Resource Management
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 1
                                             INTRODUCTION
 2
             Plaintiffs Bartell Ranch LLC. and Edward Bartell (“Bartell”) disagree with the
 3
     outcome of the United States Bureau of Land Management’s (BLM) review of the
 4
     Thacker Pass Project (Project). But the National Environmental Policy Act (NEPA)
 5
     only requires an agency take a hard look at the potential impacts of its decision and
 6
     provide for public notice and comment—both of which BLM did here. Bartell has
 7
     failed to show that BLM did not meet NEPA or the Federal Land Policy and
 8
     Management Act’s (FLPMA) requirements in approving the Project or that its
 9
     decision was arbitrary or capricious. Instead, Bartell obfuscates the legal standard
10
     governing agency decision-making by inviting the Court to delve into matters of
11
     agency expertise, which are entitled to strong deference. See Half Moon Bay Fishermans’
12
     Mktg. Ass’n v. Carlucci, 857 F.2d 505, 508 (9th Cir. 1988). While Bartell attempts to
13
     convince this Court that he presents an unbiased view of the record, his continued
14
     focus on minor or immaterial data points highlight that he has few substantive legal
15
     arguments. But even those arguments are riddled with distortions of the process and
16
     data considered by the agency. Bartell also raises several arguments for the first time
17
     in his Reply that should be summarily rejected.1
18
             This Court is charged with determining whether BLM took a hard look at
19
     environmental impacts under NEPA and provided a reasoned explanation for its
20
     decision. The Court should decline Bartell’s invitations to speculate on matters within
21
     BLM’s expertise and deny Bartell’s motion for summary judgment.
22

23

24

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     1
         Bartell Pls.’ Reply/Resp. Br. Re Mots. for Summ. J. 17-18, 22-25, 30-32, ECF No.
27 262 (“Bartell Reply”). See Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir. 1994) (issues

28 not “argued specifically and distinctly in a party’s opening brief” are waived).

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 1
                                                ARGUMENT
 2
              I.     BLM’s approval of the Project complied with NEPA
 3
              NEPA imposes procedural requirements that serve the dual purpose of
 4
     informing agency decision-makers of the potential environmental effects of proposed
 5
     major federal actions and ensuring that relevant information is made available to the
 6
     public. Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989). NEPA
 7
     requires an agency to take a “hard look” at the proposed action’s effects on the
 8
     environment prior to making it decision. Great Basin Res. Watch v. Bureau of Land
 9
     Mgmt., 844 F.3d 1095, 1104 (9th Cir. 2016) (quoting Te–Moak Tribe of W. Shoshone v.
10
     U.S. Dep’t of Interior, 608 F.3d 592, 603 (9th Cir. 2010)). In reviewing the sufficiency
11
     of an EIS, a court should evaluate whether the agency has presented a “‘reasonably
12
     thorough discussion of the significant aspects of the probable environmental
13
     consequences.’” California v. Block, 690 F.2d 753, 761 (9th Cir. 1982) (citation
14
     omitted). The Court should reject Bartell’s invitation to “flyspeck” the EIS or conduct
15
     a “fact-intensive” inquiry into the agency’s analysis of water or wildlife resources. 2
16
     Here, the process itself satisfied NEPA’s requirements and Bartell has not
17
     demonstrated otherwise.
18
              BLM took a hard look at the impacts to water resources and wildlife, as
19
     evidenced by the thousands of pages of analysis and data contained in the
20
     administrative record. Beginning with water resources, 3 the FEIS analyzed the effect
21
     of the Project on groundwater levels and the springs and streams in the Project area. 4
22
     It disclosed potential effects to water quality and quantity include modifications to
23
     existing water rights and the potential for mine related groundwater aquifer
24

25   2
         Bartell Reply 10 n.15.
26   3
         TPEIS-384, FEIS at 4-6–4-33 (AR-045554–81).
27   4
         See id. at 4-7–4-11 (AR-045556–59).
28

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 1
     drawdown.5 But, after taking a hard look, BLM concluded that any mine related
 2
     drawdown is not expected to have a significant effect on water flows and that any
 3
     effects to the quantity of water available will likely recover in twenty five years after
 4
     pumping ceases.6 These conclusions satisfy NEPA’s hard-look requirement.
 5
                The FEIS also fully explains the anticipated impacts of the Project on wildlife
 6
     resources. After studying effects to the creeks that Lahontan Cutthroat Trout (LCT)
 7
     occupy in the Project area, BLM reasonably concluded that there will be no
 8
     anticipated direct effects to the species.7 The FEIS also analyzes the Project’s impacts
 9
     to the greater sage-grouse. While there are few signs of sage-grouse in the Project area,
10
     BLM was alerted by the Nevada Department of Wildlife (NDOW) that there is a
11
     concentration of sage-grouse habitat in the high Montana Mountains adjacent to the
12
     Project area.8 BLM responded to NDOW’s comments and required Lithium Nevada
13
     to have a biological monitor present to assess noise impacts to wildlife. 9 Further,
14
     consistent with BLM policies, BLM analyzed the Project’s potential impacts in light
15
     of the sage-grouse mitigation provisions in the Nevada and Northeastern California
16
     Greater Sage-Grouse Approved 2015 RMP Amendment (the 2015 ARMPA)—
17
     resulting in Lithium Nevada committing to instituting buffers around sage-grouse
18
     habitat to minimize impacts from the Project.10 Finally, the FEIS contained the
19

20   5
         Id. at 4-8 (AR-045556).
21   6
         Id.
22   7
         Id. at 4-47, G-15 (AR-045595, AR-046028).
     8
23     TPEIS-0359, NDOW Comments at AR-045043–52; TPEIS-0384, FEIS at G-18
     (AR-046031) (noting that “sage-grouse activity has been documented within the
24   Project area by NDOW” and that “one sage-grouse was observed in the Project area”
25   during baseline surveys).
     9
         TPEIS-0384, FEIS App’x N at N-17 (AR-046487).
26
     10
       TPEIS-0384, FEIS at 4-52–4-53 (AR-045600–01) (analyzing noise impacts on sage-
27   grouse).
28

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 1
     Biological Assessment, which provided additional discussion and analysis of
 2
     potential impacts to threatened or endangered species. 11 In sum, the record amply
 3
     demonstrates that BLM took a hard look at the wildlife impacts, and Bartell has
 4
     waived this argument by not raising it in his opening brief, so the Court should find
 5
     that BLM complied with NEPA’s requirements for this claim.
 6
                 A.      Bartell has not demonstrated any error in the data-collection
 7                       process
 8            Bartell’s narrow focus on the Stevens Protocol is misplaced, 12 as Piteau
 9   Associates (“Piteau”) was not required to follow the Stevens Protocol. As thoroughly
10   explained in Federal Defendants’ prior briefs, Piteau set out a workplan, which
11   included certain surveying guidelines, and was designed to meet the BLM’s Data
12   Adequacy Standards.13 The workplan’s guidelines are cited by Bartell14 and are the
13   only survey guidelines Piteau was required to follow. And Bartell has not
14   demonstrated that the workplan’s guidelines or BLM’s Data Adequacy Standards were
15   not met.
16            Bartell’s “statement of facts”15 and argument that Piteau did not comply with
17   the workplan is misleading.16 Each administrative record citation in Bartell’s
18   argument refers to the Stevens Protocol reference materials—not the workplan
19   guidelines.17 Nowhere does Bartell even argue that Piteau did not follow the elements
20

21   11
          TPEIS-0480, Biological Assessment (AR-053092).
22   12
          Bartell Reply 3-4.
23   13
       TPEIS-0054; Fed. Defs.’ Opp’n to Bartell Pls.’ Mot. for Summ. J. 13-20, ECF No.
     238 (“Fed. Defs.’ Opp’n”).
24
     14
          Bartell Reply 4. TPEIS-0054, AR-005702-03.
25
     15
          Bartell Reply 6-8.
26   16
          Bartell Reply 22–24.
27   17
          Bartell Reply 6-8.
28

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 1
     in the workplan that it submitted. Rather, Bartell describes how Piteau did not follow
 2
     the Stevens Protocol, which nothing—no law, regulation, BLM handbook, or the
 3
     workplan itself—required Piteau to follow.18
 4
              Bartell then contends that certain baseline measurements were “inaccurate”
 5
     solely because Piteau did not follow the Stevens Protocol and measure the spring at
 6
     the point of maximum discharge.19 But, “NEPA’s requisite ‘hard look’ does not
 7
     require adherence to a particular analytic protocol.” Or. Nat. Desert Ass’n v. Bureau of
 8
     Land Mgmt., 625 F.3d 1092, 1121 (9th Cir. 2010) (citation omitted).20 The Stevens
 9
     Protocol’s methodologies were not required, and the fact that the agency used a
10
     different methodology does not render the data obtained “inaccurate” or demonstrate
11
     a NEPA violation. See also Protect Our Cmtys. Found. v. Salazar, No. 12-cv-2211-GPC
12
     (PCL), 2013 U.S. Dist. LEXIS 159281, at *25–26 (S.D. Cal. Nov. 6, 2013).
13
              Bartell also raises a novel argument—not asserted in its opening brief, and
14
     based not on statute, regulation, or case law but on a law review article and a
15
     dictionary definition—that Piteau’s taking of measurements on Bartell’s land on four
16
     occasions somehow undermines the “integrity” of the NEPA process. 21 But he has
17
     cited no case where a NEPA process was found deficient on this basis. In the main
18

19
     18
          Fed. Defs.’ Opp’n 14-16.
20   19
          Bartell Reply 8, 23-24.
21   20
        Moreover, the workplan itself contemplates that data collection techniques may
22   evolve. TPEIS-0642, (AR-60683) ("Inventory techniques will continue to evolve as
     scientific understanding of this nascent field develops, as methods improve, and as
23   these techniques are used to address specific and more sophisticated questions about
24   springs ecology and stewardship. Further testing and refinement of these protocols
     are necessary and desired, particularly in boreal and subaqueous environments.
25   Therefore, inventory protocol development is an ongoing process, and we welcome
     suggestions for improving them.").
26
     21
        Bartell Reply 19-20, 23-34. Because all arguments based on the “integrity” of the
27   NEPA process appear for the first time on reply, they are waived and should be
28   rejected. See Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir. 1994).

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 1
     case cited by Bartell, Conservation Northwest v. Rey, the court found the agency’s data
 2
     unreliable because the challenged NEPA analysis had not included site visits. 674 F.
 3
     Supp. 2d 1232, 1253 (W.D. Wash. 2009). Here, Piteau visited and measured the
 4
     springs and Bartell has not demonstrated that those measurements were deficient in
 5
     any way.
 6
             Bartell dwells on the fact that Piteau’s employee visited sites on his land on
 7
     four occasions without receiving his permission. Even if Bartell’s objections to
 8
     Piteau’s sampling on his property were somehow legally relevant, however, Bartell
 9
     has not demonstrated any injury from data collection on those lands; or that Piteau’s
10
     employees willfully entered Bartell’s land after being warned not to; or that BLM was
11
     aware of any alleged trespass before or at the time thereof. Importantly, Bartell has
12
     not demonstrated that the NEPA process was rendered deficient in any way by the
13
     fact that he was not consulted before measurements from two springs on his property
14
     were taken on four occasions.22 Finally, even if there were some material error in the
15
     collection of this data—one that affected the integrity and reliability of the data
16
     itself—omitting the data would not impact the groundwater model, 23 and thus any
17
     such error would be harmless. Idaho Wool Growers Ass’n. v. Vilsack, 816 F.3d 1095,
18
     1104 (9th Cir. 2016) (citation omitted) (“The harmless-error analysis asks whether the
19
     . . . error caused the agency not to be fully aware of the environmental consequences
20
     of the proposed action, thereby precluding informed decision-making and public
21
     participation, or otherwise materially affected the substance of the agency’s
22
     decision.”).
23

24   22
        Bartell twice alleges that Piteau failed to “comply with BLM’s data adequacy
25   standards,” see (Bartell Reply 23–24, 31–32), but has not identified any standard with
     which Piteau’s work failed to comply. Bartell equates Piteau not using the Stevens
26
     Protocol with a violation of those standards, but can point to nothing in those
27   standards requiring compliance with the Stevens Protocol.
     23
28        TPEIS-0406 at AR-048356.

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 1
                 B.      The Court should reject Bartell’s invitation to “flyspeck” the FEIS
 2
              The methodologies used to collect the water resource data and the agency’s
 3
     scientific analysis of that data are exactly the type of highly specialized decisions
 4
     entrusted to the agency’s expertise. Each iteration of Bartell’s claims merely invites
 5
     the Court to improperly “flyspeck” the agency’s scientific analysis, in contravention
 6
     of the deference owed to an agency’s expertise. See Half Moon Bay, 857 F.2d at 508.
 7
              The purported “errors” cited by Bartell are actually differences of methodology
 8
     explained by BLM in its response to comments. 24 For example in Facts Section H,
 9
     Bartell alleges errors or insufficiencies in the baseline for 12 of the 22 springs: BLM-
10
     02, SP-006, SP-008, SP-010, SP-029, SP-030, SP-031, SP-032, SP-03514, SP-042, SP-
11
     047, and SP-048.15.25 Bartell complains that a baseline of “zero” is attributed to seven
12
     of the springs despite those springs being characterized as “perennial.” But Piteau's
13
     Lithium Nevada Corporation Seep and Spring Survey Report 26 provides far more
14
     comprehensive information on how the springs were characterized and monitored.
15
     The Report explains that it is common practice among hydrologists and ecologists to
16
     characterize a spring as "perennial" based on characteristics other than flow volume, 27
17
     such as when there is diffuse flow (where it is difficult to obtain a useful measurement)
18
     or the regular presence of standing water or viable wetland/riparian vegetation. For
19
     example, the Report photos show that springs SP-035 and SP-042 have diffuse flow
20

21   24
          Bartell Reply 23; Fed. Defs.’ Opp’n 21-24.
22   25
          Bartell Reply 9-12.
23   26
          TPEIS-0076 (AR-008601), table at AR-008613.
24   27
        TPEIS-0384, FEIS Water Quantity and Quality (AR-045556). Indeed, even the
     Stevens Protocol itself acknowledges: “seeps, and other springs with highly diffuse
25
     discharge are sites at which surface flow cannot be focused and directly measured.
26   Measurement and photography of the wetted area may be the only option for
     estimating the extent of springs flow.” TPEIS-0642, The Stevens Protocol (AR-
27   060712).
28

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 1
     or standing water, coupled with observed wetland vegetation, but no particular
 2
     surface flow away from the site.28 Thus, an observed flow rate of zero gallons per
 3
     minute is accurate and not a result of any error. The “fact-intensive inquiry” Bartell
 4
     proposes into the hydrological and scientific choices made by the agency, developed
 5
     for the first time in his reply, is exactly the type of flyspecking courts are instructed to
 6
     avoid under the APA because an agency’s scientific analyses are entitled to agency
 7
     deference. See Half Moon Bay, 857 F.2d at 510.
 8
              Further, Bartell’s hyper-focus on the flow rates for springs identified in
 9
     Table 4.2 in the FEIS—measured at <1 gallon per minute, the equivalent of an open
10
     spigot on a household sink—fails to acknowledge that the significant modeling
11
     analysis in the FEIS uses multiple sources of data to measure the quantity of water in
12
     the watershed and potential drawdowns.29 Bartell misconstrues the use of the
13
     hydrological data collected by Piteau as the sole source for baseline data. As stated in
14
     Lithium Nevada’s Baseline and Model Workplan, the data collected by Piteau was
15
     used to build upon previous investigations such as the data collected by Western
16
     Lithium and the State of Nevada. This previously collected data, in addition to the
17
     data collected by Piteau, was incorporated into Piteau’s numerical groundwater
18
     model that established the average baselines.30 This is why, as BLM explained,31 data
19
     collected by Piteau at the wrong locations is still useful for the model. From those
20
     multiple sources, Piteau was able to model accurate baselines and predict impacts of
21

22   28
        See TPEIS-0076, AR-008498 and AR-008504 (showing pictures of diffuse spring
     flow and riparian vegetation at SP-035 and SP-042 with no evidence of focused
23
     surface flow from perennial springs for measurement).
24   29
      See TPEIS-0054, Piteau Report Baseline Data Sources (AR-005703-4); TPEIS-0384,
25   FEIS Map of Model of Potential Maximum Groundwater Drawdown from Proposed
     Action (AR-0045714).
26   30
          TPEIS-0054, Lithium Nevada Corp. Baseline and Model Workplan (AR-005704).
27   31
          TPEIS-1411, BLM Email commenting on errors in Piteau data collection.
28

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 1
     the Project on water resources.
 2
              Unlike in ONDA v. Jewell, Bartell has not proven that the baseline data is so
 3
     severely erroneous as to be a NEPA violation.32 There, the Ninth Circuit found that
 4
     BLM had impermissibly extrapolated baseline data from two sites to conclude that
 5
     sage-grouse did not exist in the project area and vacated a wind energy project due to
 6
     that erroneous baseline. Or. Nat. Desert Ass’n v. Jewell, 840 F.3d 562, 570 (9th Cir.
 7
     2016). There, the baseline used in the EIS indicated a lack of sage-grouse despite
 8
     evidence in the record of sage-grouse presence. Here, the record accurately portrays
 9
     the baseline through field descriptions from individual water resource site visits.
10
     While there are seasonal differences that the model accounts for using multiple data
11
     sources, Bartell has failed to show that the baseline is erroneous. BLM established the
12
     baseline conditions using its knowledge of the area and expertise. This Court should
13
     decline Bartell’s repeated invitation in its “Facts Sections D, E, F, and J” to flyspeck
14
     BLM’s scientific analysis when the record shows the observed conditions are
15
     consistent with the baseline reported to the public in the FEIS.
16
                 C.      BLM adequately analyzed mitigation measures for the Project.
17
              Bartell’s mitigation argument33 depends on the Court finding inaccuracies in
18
     the baseline data which, for the reasons explained above, it cannot and should not do.
19
     Bartell’s mitigation arguments also fail because BLM appropriately analyzed
20
     proposed actions to mitigate the impacts of the Project in the FEIS at Appendix P.
21
     NEPA “requires only that an EIS contain ‘a reasonably complete discussion of
22
     possible mitigation measures,’” and “does not require an agency to formulate and
23
     adopt a complete mitigation plan” before project approval. N. Alaska Env’t Ctr. v.
24
     Kempthorne, 457 F.3d 969, 979 (9th Cir. 2006) (quoting Robertson, 490 U.S. at 352).
25
     Under the monitoring plan, Lithium Nevada would extensively monitor groundwater
26
     32
27        Bartell Reply 27 n.43.
     33
28        Bartell Reply 28-30.

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 1
     levels between the Project and the Montana Mountains both during and after mining
 2
     operations. If monitoring shows that pre-determined impact thresholds are met, that
 3
     would trigger further mitigation efforts.34 This plan is subject to final approval through
 4
     a Water Pollution Control Permit issued by Nevada Department of Environmental
 5
     Protection, which is delegated primacy from the United States Environmental
 6
     Protection Agency (EPA) on water-quality compliance.
 7
              Bartell’s argument about possible drawdowns during exploratory drilling once
 8
     again misconstrues flow rates as the only determining measurement of a perennial
 9
     water resource.35 As described in the mitigation plan, impacts from exploratory
10
     drilling and the production well will be monitored for changes in standing water or
11
     vegetation, and if functionality or water rights are affected then a mitigation action
12
     may be taken.36 The mitigation plan also contains actions to address potential impacts
13
     to wildlife such as creating noise buffer areas between the Project and known
14
     populations of sage-grouse.37 Because the FEIS contains more than a “reasonably
15
     complete discussion of possible mitigation measures,” it satisfies the requirements of
16
     NEPA, and Plaintiffs claims should be denied. N. Alaska Env’t Ctr., 457 F.3d at 979.
17
                     D. BLM has complied with its public disclosure requirements
18
              BLM provided public notice of NEPA–related meetings and made the
19
     environmental documents and analysis publicly available in accordance with its
20
     regulations. 40 C.F.R. § 1506.6. It issued its Notice of Intent to prepare an EIS on
21

22   34
        TPEIS-0384, FEIS at 4-24 (AR-045572). The monitoring and mitigation plan
     includes mitigation options to support surface water features in the Montana
23
     Mountains, including at spring locations for the benefit of wildlife, as well as Pole
24   Creek and the nearest stockwater well that could be impacted TPEIS-0711, FEIS
     App’x P, Part 1 at 154, 157–58 (AR-066297, AR-066300–01).
25
     35
          Bartell Reply 29-30.
26   36
          TPEIS-0384, FEIS Appendix P (AR-047872).
27   37
          TPEIS-0384, FEIS App’x N at N-17 (AR-046487).
28

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 1
     January 21, 2020.38 It then engaged in a scoping period, during which it held public
 2
     scoping meetings.39 It then made the DEIS available to the public for comment on
 3
     July 29, 2020, and held two additional public meetings in August 2020. 40 BLM made
 4
     the FEIS available on December 4, 202041 and considered comments submitted
 5
     during the ensuing 30-day review period. During that period, BLM received several
 6
     additional comments on the FEIS, including from Bartell, NDOW, and the EPA,
 7
     which BLM duly evaluated in compliance with NEPA.42
 8
              Notwithstanding the above, Bartell contends that BLM violated NEPA’s
 9
     public involvement requirements by not disclosing the Biological Assessment or the
10
     mitigation plan prior to issuing the FEIS. But that argument fails because the law did
11
     not require an earlier disclosure of either document.43 First, the Endangered Species
12
     Act (ESA) does not require public involvement in the Section 7 consultation process.
13
     San Luis & Delta-Mendota v. Jewell, 747 F.3d 581, 649 (9th Cir. 2014) (“[T]he ESA's
14
     Section 7 consultation process fails to provide for public comment in the same way
15
     that NEPA does.” (citation omitted)). And Bartell has not rebutted Federal
16
     Defendants’ explanation that no law or regulation required public disclosure of the
17
     Biological Assessment itself (a component of the ESA Section 7 consultation process),
18
     so long as the relevant environmental information was presented to the public—as it was
19
     here.44 Second, Bartell has not identified any information in the Biological
20

21   38
          TPEIS-0126, 85 Fed. Reg. 3413 (Jan. 20, 2020) (AR-017867)
22   39
          TPEIS-0142, Public Scoping Report (AR-019130-019221).
23   40
       TPEIS-0458, Notice of Availability of the Draft Env’t Impact Statement, 85 Fed.
     Reg. 45,651 (July 29, 2020).
24
     41
          TPEIS-0696, 85 Fed. Reg. 78,324 (Dec. 4, 2020).
25   42
          TPEIS-0448 at AR-052467.
26   43
          Bartell Reply 13, 32–34.
27   44
          See Fed. Defs.’ Opp’n 30-31.
28

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 1
     Assessment that was not included in the EIS. Bartell only mentions in passing “how[ ]
 2
     LCT could be impacted,”45 but the EIS evaluated that issue—and concluded that LCT
 3
     habitat would likely not be affected.46 Because BLM’s discussion of that information
 4
     in the EIS satisfies NEPA’s public notice requirements, Cascadia Wildlands v. U.S.
 5
     Forest Serv., 937 F. Supp. 2d 1271, 1277 (D. Or. 2013), Bartell has not demonstrated
 6
     that BLM failed to comply with NEPA by not publishing the Biological Assessment
 7
     before the ROD issued.
 8

 9            Further, BLM’s analysis of monitoring and mitigation in the FEIS satisfied the

10   hard-look requirement of NEPA. Bartell contends that the additional mitigation

11   proposals included in the administrative record needed to be published before the

12   ROD issued.47 But, as the Ninth Circuit Court of Appeals acknowledged in Japanese

13   Village, “an agency need not supplement an EIS every time new information comes

14   to light after the EIS is finalized.” 843 F.3d 445, 459 (9th Cir. 2016). Here, BLM

15   provided addition mitigation proposals after the FEIS was published based on

16   feedback from the comments received by the agency, but reasonably did not provide

17   a specific post-FEIS comment period for those proposals or otherwise conduct

18   supplemental environmental analysis of those proposals. “To require [additional time

19   for comments] would render agency decision-making intractable, always awaiting

20   updated information only to find the new information outdated by the time a decision

21   is made.” Marsh v. Or. Nat. Res. Council, 490 U.S. 360, 373 (1989). Rather,

22   supplemental environmental analysis is necessary “if the new information is sufficient

23   to show that the remaining action will ‘affec[t] the quality of the human environment’

24
     45
25        Bartell Reply at 33.
     46
       TPEIS-0384, FEIS at 4-9, 4-47, 4-53–4-55 (AR-045557, AR-045595, AR-045601–
26
     03); TPEIS-0696, FEIS App’x A Fig. 4.3-8 (AR-065488).
27   47
       Fed. Defs.’ Opp’n at 32 (citing Japanese Vill., LLC v. Fed. Transit Admin., 843 F.3d
28   445, 459 (9th Cir. 2016)).

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 1
     in a significant manner or to a significant extent not already considered[.]” Id. at 374.
 2
     Because the environmental information contained within both these documents
 3
     already existed within the FEIS, BLM did not withhold information from the public
 4
     in violation of NEPA’s regulations.
 5
                 E.      BLM satisfied its obligations to independently evaluate Piteau’s
 6                       work
 7            The record demonstrates that BLM independently evaluated Piteau’s work and
 8   exercised the requisite oversight. NEPA regulations provide that “[i]f an agency
 9   requires an applicant to submit environmental information for possible use by the
10   agency in preparing an environmental impact statement, . . . [t]he agency shall
11   independently evaluate the information submitted and shall be responsible for its
12   accuracy.” 40 C.F.R. § 1506.5(a) (2020). The regulations further require that, if an
13   agency uses a contractor to prepare an EIS, the agency “shall independently evaluate
14   the [EIS] prior to its approval and take responsibility for its scope and contents.”48 Id.
15   § 1506.5(c). Bartell argues that the BLM did not independently evaluate Piteau’s data
16   because the BLM did not visit the streams that Piteau measured or recreate its
17   measurements.49 Nothing in the law requires the BLM to do so. To the contrary, “the
18   purpose of the regulation is that ‘acceptable work not be redone.’” Ctr. for Food Safety
19   v. Vilsack, 844 F. Supp. 2d 1006, 1023 (N.D. Cal. 2012), aff’d, 718 F.3d 829 (9th Cir.
20   2013).
21            Instead, BLM must independently evaluate the EIS prior to its approval and
22   take responsibility for its scope and contents. Id. § 1506.5(a) and (c). And the record
23   contains ample evidence that BLM did so.50 BLM participated in a series of
24
     48
       Notably, Bartell has not brought any claim challenging BLM’s oversight of the EIS
25   process or asserting a violation of 40 C.F.R. § 1506.5.
     49
26        Bartell Reply 8-9, 29-32
     50
27     TPEIS-1022 at AR-094719–20; TPEIS-1061 at AR-095479 (providing comments
     on the hydrological impacts report); TPEIS-1205 (providing comments on addendum
28

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 1
     presentations and calls concerning Piteau’s work.51 And the record shows that BLM
 2
     saw substantive improvement over time with respect to the water resources analysis. 52
 3
     Even the document that Bartell cites for the contrary proposition supports the fact
 4
     that BLM did independently evaluate Piteau’s work. And Bartell’s alleged minor
 5
     discrepancies in the data are at most harmless error that did not materially affect the
 6
     outcome of the NEPA process.53 See Nat’l Ass’n of Home Builders v. Defs. of Wildlife, 551
 7
     U.S. 644, 659 (2007).
 8
              BLM had several meetings with Piteau to discuss its work and provide
 9
     constructive feedback, which was more than was done in Sierra Club v. Van Antwerp,
10
     709 F. Supp. 2d 1254, 1265 (S.D. Fla. 2009), aff'd, 362 F. App'x 100 (11th Cir. 2010).
11
     This evaluation and iterative process is distinguishable from Sierra Club, where the
12
     agency adopted without further evaluation the permit applicants’ report on the non-
13
     viability of alternative mining sites and evaluation of the environmental consequences
14
     of mining at those sites. While BLM did not conduct independent visits to the sites
15
     studied by Piteau, it did evaluate Piteau’s work. Moreover, none of the cases cited by
16
     Bartell—all of which found the agency’s oversight sufficient—required the agency to
17
     repeat any measurement of data already acquired by a contractor. See Lange v.
18
     Brinegar, 625 F.2d 812, 818–19 (9th Cir. 1980); Airport Impact Relief, Inc. v. Wykle, 192
19
     F.3d 197, 208 (1st Cir. 1999); City of Roseville v. Norton, 219 F. Supp. 2d 130, 166
20

21   to water quantity and quality impacts report); TPEIS-1131 at AR-097595–95 (“Dan
     Erbes (BLM geohydrologist) and Patrick Plumlee (hydrology/geochemistry
22   subcontractor to ICF) have been working with Piteau and [Lithium Nevada] with
     regard to these baselines as well as the issues with the modeled affects on water quality
23
     and quantity . . . .”).
24   51
          TPEIS-0986; TPEIS-1013; TPEIS-1072.
25   52
       TPEIS-1330 at AR-101586 (“The revised water resources section in the 6/19/2020
     Thacker Pass ADEIS constitutes a vast improvement over the previous version and I
26
     only have a few comments . . . .”).
27   53
          Bartell Reply at 13-14.
28

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 1
     (D.D.C. 2002), aff'd, 348 F.3d 1020 (D.C. Cir. 2003).
 2
              Finally, in challenging BLM’s independent evaluation of Piteau’s work, Bartell
 3
     attempts to create a new claim of “scientific integrity” out of whole cloth. 54 But he
 4
     offers no compelling authority supporting it. To the contrary, BLM duly evaluated
 5
     Piteau’s work and determined it was satisfactory for BLM’s professional and scientific
 6
     standards. It is not the Court’s role to adjudicate the intricacies of data collection or
 7
     BLM’s scientific analysis. Rather, “[b]ecause analysis of scientific data requires a high
 8
     level of technical expertise, courts must defer to the informed discretion of the
 9
     responsible federal agencies.” Earth Island Inst. v. U.S. Forest Serv., 351 F.3d 1291, 1301
10
     (9th Cir. 2003). Bartell’s allegations that the data suffers from “errors or
11
     insufficiencies”55 are unfounded and his invitations to dissect the agency’s analysis
12
     are unnecessary. The record shows that, pursuant to NEPA, BLM took a hard look
13
     at the impacts of the Project and made a reasonable decision based on the record
14
     before it. Therefore, the decision should be upheld and Bartell’s motion denied.
15
              II.        BLM’s approval of the Project complied with FLPMA
16
              Finally, Bartell argues that BLM violated FLPMA by not: (1) applying certain
17
     RMP provisions to the Project or (2) determining mining claim validity before
18
     approving the Mining Plan. Bartell has not carried its burden of demonstrating any
19
     violation of FLPMA on either basis.
20
                    A.     FLPMA does not require mining operations to comply with the
21                         RMP provisions Bartell asserts
22            As Federal Defendants have explained, FLPMA does not allow BLM to
23   withdraw lands from operation of the Mining Law through the land-use planning
24   process. See 43 U.S.C. § 1712(e)(3). Even Bartell acknowledges that “public lands
25

26   54
          Bartell Reply at 19-20.
27   55
          Bartell Reply at 23.
28

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 1
     may only be removed from the operation of the Mining Law pursuant to 43 U.S.C.
 2
     § 1714,” which involves a decision-making process distinct from the land-use-
 3
     planning process.56 Federal Defendants’ argument is thus not, as Bartell frames it, that
 4
     RMPs are some sort of “‘amendment’ of the Mining Law,” but rather that FLPMA
 5
     treats land-use planning and withdrawals as separate processes. And applying the two
 6
     specific location-based RMP provisions that Bartell asserts would have operated to
 7
     remove lands from operation of the Mining Law through the RMP process because
 8
     they would have precluded any operations from occurring on those lands.
 9
              Bartell first asserts that BLM should have required the Project to comply with
10
     MD SSS 1 of the 2015 ARMPA, under which BLM would work with the project
11
     proponent to “locate the [project] outside” of priority sage-grouse habitat or general
12
     sage-grouse habitat if possible.57 But as BLM explained in addressing this provision,
13
     “[o]re bodies are in place and not flexible in terms of location.” 58 So requiring Lithium
14
     Nevada to re-site the Project outside of sage-grouse habitat, as Bartell wants, would
15
     in effect close those lands—and all sage-grouse habitat—to any activity under the
16
     Mining Law, which BLM cannot do through application of a land-use plan.
17
     Nonetheless, as BLM further explained, Lithium Nevada “worked with the BLM to
18
     avoid effects of human activity on GRSG and habitat,” and described the efforts
19
     undertaken to reduce potential effects on sage-grouse and their habitat. 59
20
              The same argument prevents Bartell from succeeding on its claim that BLM
21
     should have required the project to comply with the visual-resource management
22
     (VRM) designations of the Winnemucca RMP. 60 Requiring such compliance here
23
     56
          Bartell Reply 35.
24
     57
          Bartell Reply 36 n.56 (citing TPEIS-0384, FEIS at N-5 (AR-046475)).
25   58
          TPEIS-0384, FEIS at N-5 (AR-046475).
26   59
          TPEIS-0384, FEIS at N-5 (AR-046475).
27   60
          See Bartell Opening Mot. for Summ. J. 39 ; Bartell Reply 36.
28

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 1
     would effectively bar the operations61—thus removing the lands from operation of the
 2
     Mining Law through application of a land-use plan, which FLPMA prohibits BLM
 3
     from doing. BLM has made reasonable attempts to meet the VRM objectives and
 4
     minimize the visual impacts of the mining project, which satisfy FLPMA’s
 5
     requirements. See S. Fork Band v. U.S. Dep’t of Interior, 643 F. Supp. 2d 1192, 1211 (D.
 6
     Nev. 2009), rev’d on other grounds, 588 F.3d 718 (9th Cir. 2009) (declining to
 7
     preliminarily “second-guess the agency's weighing of the compliant and
 8
     noncompliant visual resource areas in light of its experience and expertise”). BLM
 9
     thus has not violated FLPMA through not requiring the Project’s compliance with
10
     VRM designations or amending the Winnemucca RMP. Neither of the cases Bartell
11
     cites alters this analysis.62
12

13           Finally, as Federal Defendants have explained, the provisions of the

14   Winnemucca RMP and the 2015 ARMPA are mandatory only for discretionary

15   actions—i.e., actions that BLM has decided through the land-use planning process to

16   allow and that BLM may refuse to authorize even if not required to prevent

17   “unnecessary or undue degradation.”63 Disapproval of a plan of operations is not such

18   an action. To the contrary, BLM’s regulations do not afford it discretion to disapprove

19   61
       See TPEIS-0384, FEIS at 4-98–4-107 (AR-045646–55) (describing effects on visual
20   resources).
     62
       See Bartell Reply 36. Neither Cloud Found. v. U.S. Bureau of Land Mgmt., No. 3:11-
21
     CV-00459-HDM, 2013 WL 1249814, at *10 (D. Nev. Mar. 26, 2013) (wild-horse
22   management), nor Or. Nat. Desert Ass’n v. Bureau of Land Mgmt., No. 2:10-CV-01331-
     SU, 2014 WL 4832218, at *26 (D. Or. Sept. 29, 2014) (grazing authorizations),
23   addresses—let alone requires—application of RMP provisions to a locatable minerals
24   project authorized under BLM’s surface-management regulations.
     63
       See TPEIS-0298, 2015 ARMPA at 2-30 (AR-037782) (clarifying that with respect to
25
     actions involving locatable minerals, certain management objectives apply “to the
26   extent allowed by law”); TPEIS-0226, Winnemucca RMP at 2-52 (AR-033676)
     (defining “Discretionary Actions” to “include livestock grazing, mineral leasing, and
27   some lands actions.”).
28

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 1
     a plan of operations for failure to comply with a land-use plan. See 43 C.F.R.
 2
     § 3809.411(d)(3).
 3
                 B.      BLM did not—and was not required to—determine mining claim
 4                       validity.
 5            Finally, Bartell now challenges BLM’s compliance with FLPMA on grounds
 6   that BLM did not make a validity determination before approving the Project. 64 As
 7   an initial matter, Bartell waived this argument because he did not develop it in his
 8   opening brief.65 See Greenwood v. FAA, 28 F.3d 971, 977 (9th Cir. 1994) (issues not
 9   “argued specifically and distinctly in a party's opening brief” are waived). Even were
10   it not waived, it does not entitle Bartell to summary judgment.
11            First, Bartell cites to no provision of BLM’s regulations imposing a
12   requirement for BLM to determine that Lithium Nevada possessed valid mining
13   claims before approving the Project. But see 43 C.F.R. § 3809.100 (requiring BLM to
14   verify mining claim validity only on withdrawn lands). Bartell nevertheless bases this
15   argument on the Ninth Circuit’s recent decision in Center for Biological Diversity v. U.S.
16   Fish & Wildlife Serv. (“Rosemont”), 33 F.4th 1202, 1219 (9th Cir. 2022), which is
17   distinguishable from this case.
18            The Ninth Circuit there concluded that, “[i]f no valuable minerals have been
19   found on the land,” the Mining Law “gives no right of occupation beyond the
20   temporary occupation inherent in exploration.” Id. at 1219 (analyzing 30 U.S.C.
21   § 22). Bartell has brought no claim challenging a lack of compliance with the Mining
22   Law itself, as plaintiffs did in Rosemont.66 Rather, in his only potentially relevant claim
23
     64
          Bartell Reply 36–38.
24   65
          See Fed. Defs.’ Reply 33, ECF No. 238 (noting lack of development).
25   66
       See First Am. Compl. ¶¶ 51–55 (Count 1 asserting only NEPA violations); id. ¶¶ 56–
26   59 (Count 2 asserting only FLPMA violations), No. 3:21-cv-80-MMD, ECF No. 28;
     compare Compl. ¶¶ 218–19 (Claim 4), No. 4:17-cv-576-RCC, ECF No. 1 (Filed Nov.
27   27, 2017).
28

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 1
     for relief, Bartell alleged only that BLM violated FLPMA through “[e]rroneously
 2
     assuming or concluding that all or some of FLMPA’s [sic] requirements, including
 3
     violations of the RMP, do not apply based on the proposition that LNC possesses
 4
     ‘valid existing rights’ without adequate evidence demonstrating that such rights exist
 5
     as to all or portions of the project area.”67 Bartell has not challenged the Exploration
 6
     Plan at all under this theory.68
 7
              As explained above, BLM did not apply the RMP provisions that Bartell relies
 8
     on because it was not required to do so—and lacked discretion to do so—where
 9
     requiring compliance with the RMP provisions would effectively withdraw the lands
10
     in question from operation of the Mining Law in violation of FLPMA. Put differently,
11
     application of the RMP provisions depends on whether those provisions are
12
     consistent with applicable law, not on whether Lithium Nevada possessed “valid
13
     rights,” and so BLM did not need to engage in a “valid rights” analysis. 69 Importantly
14
     here, in rendering its decision in Rosemont, the Ninth Circuit did not address
15
     consistency with FLPMA, its land use planning provisions, or approvals under
16

17   67
          First Am. Compl. ¶ 58(e).
18   68
        The challenged Record of Decision (ROD) approved two separate plans: a Mining
19
     Plan of Operations and an Exploration Plan of Operations. ROD, TPEIS-0452 at 1–
     2 (AR-052517–18). No part of the Ninth Circuit’s decision purports to require such
20   discovery of a valuable mineral deposit or a validity determination before approving
     surface use for exploratory purposes. See Rosemont, 33 F.4th at 1209.
21
     69
       Even assuming that Rosemont applied here and BLM was required to assess the
22   validity of Lithium Nevada’s mining claims in approving the Project, the record here
23   contains evidence supporting the potential for valuable minerals—lithium—
     throughout the Thacker Pass basin. Bartell acknowledges the FEIS’s recognition that
24   there is “[l]ithium mineralization” in the “lacustrine sediments of the McDermitt
     Caldera.” Bartell Reply at 37 (citing TPEIS-0384 at page 579, which is the same as
25
     TPEIS-0702, FEIS App’x G at AR-065693). Even if the record contained conflicting
26   evidence about the viability of extraction, at most, that the Court should not make a
     determination—as the Ninth Circuit did—that Lithium Nevada’s claims are invalid.
27   Rather, if it finds any error on this basis, it should remand the decision to BLM to
28   make the appropriate findings and determinations in the first instance.

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     BLM’s subpart 3809 regulations promulgated under FLPMA. And Bartell has not
 2
     identified any other requirement of FLPMA that BLM has allegedly not complied
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     with on this basis. Thus, Bartell’s FLPMA arguments should be rejected.
 4
                                              CONCLUSION
 5
             For the reasons set forth above, BLM’s approval of the Thacker Pass project
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     complied with applicable law and was not arbitrary or capricious. Plaintiffs have not
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     carried their burden of demonstrating otherwise. The Court should therefore deny
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     Plaintiffs’ motion for summary judgment and grant Federal Defendants’ motion.
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             Respectfully submitted this 11th day of August, 2022.
11
                                                         TODD KIM
12
                                                         Assistant Attorney General
13                                                       United States Department of Justice
                                                         Environment and Natural Resources Div.
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15                                                        /s/Leilani Doktor
                                                         LEILANI DOKTOR (HI Bar 11201)
16                                                       ARWYN CARROLL (MA Bar 675926)
                                                         MICHAEL ROBERTSON (VA Bar 80866)
17
                                                         Trial Attorney
18                                                       Natural Resources Section
                                                         P.O. Box 7611
19                                                       Washington, D.C. 20044-7611
20                                                       Phone: 202-305-0465
                                                         Fax: 202-305-0506
21                                                       arwyn.carroll@usdoj.gov
                                                         leilani.doktor@usdoj.gov
22
                                                         michael.robertson@usdoj.gov
23

24                                                       Attorneys for Federal Defendants
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